             Case 3:16-bk-02230-PMG             Doc 1184-1     Filed 08/29/18       Page 1 of 10




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

------------------------------------------------------x
In re:                                                :    Case No. 3:16-bk-02230-PMG
                                                      :
RMS TITANIC, INC., et al., 1                          :    Chapter 11 (Jointly Administered)
                                                      :
                           Debtors.                   :
------------------------------------------------------x

                    DECLARATION OF ARLAN ETTINGER IN
         SUPPORT OF EQUITY COMMITTEE'S APPLICATION FOR AN ORDER
             PURSUANT TO 11 U.S.C. §§ 327(a) AND 328(a) AUTHORIZING
               THE RETENTION OF GUERNSEY'S AS AUCTIONEER


I, Arlan Ettinger, hereby declare as follows,

         1.      I am the President of Guernsey’s auction house. I, along with Barbara Mintz –

now my wife – founded Guernsey’s, a Division of Barlan Enterprises, Ltd., in 1975. I am

familiar with the matters set forth herein and make this Declaration in support of the Equity

Committee's Application to Employ Guernsey’s as the auction house to sell a certain set of

artifacts recovered from the wreck site of the RMS Titanic that are commonly known as the

French Artifacts, described more fully below. If called upon to testify I could and would testify

as set forth herein.

         2.      Guernsey’s is widely considered one of the world’s leading auction houses for

having consistently produced world-record-setting auction events, often of the most interesting



1
          The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions
Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC
(5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed
Corp. (7309). The Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.




45002267;2
             Case 3:16-bk-02230-PMG      Doc 1184-1       Filed 08/29/18     Page 2 of 10




types – historic objects, collectibles, antiques, and art. Many credit this firm for having pioneered

the practice of working with the media – in the United States and around the world – to spread

word of an upcoming auction event to a global audience. Guernsey’s has been privileged to

represent many prominent museums, and in virtually every direction our auctions have taken us,

we have produced results far higher than all competitors.

         3.      The smallest sampling of Guernsey’s events would include having conducted the

world’s largest auction (the contents of the ocean liner SS United States), the landmark Cold War

auction of artwork from the Soviet Union, and the definitive auctions focused on such iconic

individuals as John F. Kennedy, Franklin Roosevelt, Princess Diana, Elvis Presley, Duke

Ellington, and many others. Within recent times, this auction house concluded a multi-part

auction series devoted to a historic, Holocaust-related collection of several thousand rare posters,

and sold the complete Archive of Rosa Parks, which is now a permanent part of the United States

Library of Congress.

         4.      In March 2018, the Equity Committee approached Guernsey’s to obtain a

proposal to conduct the auction of approximately 2,358 artifacts held by Premier Expeditions,

Inc. ("Premier”), a Chapter 11 Debtor in the above-captioned bankruptcy case. These artifacts

were recovered from the wreck site of the RMS Titanic during expeditions in 1987. The artifacts

were landed in France and are commonly referred to as the “French Artifacts.” Prior to being

approached by the Equity Committee for a sale of the French Artifacts, Guernsey’s was already

familiar with the Titanic Artifacts.    In 2012, Premier consigned its entire body of Titanic

Artifacts to Guernsey’s for what was to have been a one-lot auction. Among the steps this

auction house took to spread word of the coming event to a global audience was a press




45002267;2                                       2
             Case 3:16-bk-02230-PMG       Doc 1184-1      Filed 08/29/18     Page 3 of 10




conference conducted on board the USS Intrepid, where more than a hundred members of the

media were present. While preparing for the 2012 auction I had the opportunity to personally

inspect many of the Titanic Artifacts placed with Guernsey’s for that auction.

         5.      Despite receiving substantial offers for the entire collection, our efforts did not

produce the amount that Premier insisted upon as the reserve, or required minimum bid, of just

under $200 million. Additionally, the consignment included all of Premier’s Titanic Artifact

collection, including objects referred to as the American Artifacts, which were governed by

Covenants and Conditions which, among other things, required that the buyer forever keep that

collection intact, forever make it available for the public, to have an ongoing restoration

program, and forever safeguard (from poaching) the Titanic underwater wreck site. These

requirements certainly impacted buyers’ willingness to meet Premier’s financial objective.

         6.      While promoting the sale of the Titanic Collection in its entirety, Guernsey’s

fielded many inquiries from individuals, institutions, and corporations that were interested in

acquiring singular or small numbers of Titanic artifacts. Obviously, at that time, those requests

could not be accommodated because Premier insisted that the Artifacts be sold as a whole

collection.

         7.      In response to their inquiry, I told the Equity Committee that we would market the

consigned items from the French Collection to a global audience. Since there is not a place in the

world where the Titanic’s fame has not reached, our objective – one we are convinced is quite

achievable – would be to make sure that news coverage of the coming Titanic Auction reaches

virtually every conceivable buyer, no matter where he or she may be. Of course, our message

now would be significantly different than what was being promoted in 2012, when it was only




45002267;2                                        3
             Case 3:16-bk-02230-PMG      Doc 1184-1      Filed 08/29/18     Page 4 of 10




the Collection in its entirety that could be had. This time, in addition to iconic artifacts such as

the Cherub from the main dining room and the ship’s Bell, a person of average means can

participate with the hope of acquiring even just a single object from the legendary Titanic. And

the fact that some items may appear less than visually stunning (such as a bent coin, damaged

paper currency, or chipped dinner plate) does not matter, as these objects will still be highly

sought after and treasured, as genuine remnants from one of the most fabled incidents in human

history.

         8.      Auction prices are generated from competitive bidding and it is our belief that

record numbers of bidders will participate in the Titanic Auction. Modern online auction

technology will facilitate potential bidders’ participation in this event worldwide. This could

easily result in hundreds, if not thousands, of bidders going after even the seemingly least

significant items in the French Collection. With this volume of competition, it is not far-fetched

to imagine that even the least valuable item might achieve significant results.

         9.      By definition, an auction is an unpredictable event. No one knows, with any

degree of certainty, what will result from a given auction, whether it is a collection of paintings

by Picasso or the Victorian contents from a house on Main Street. Still, if there was ever a body

of material that will excite collectors, historians, and the general public, it has to be the actual

artifacts recovered from the storied Titanic.

         10.     We have made a preliminary analysis of the level which we feel each of the 2,358

artifacts would fall into. Using that analysis, we have come up with an estimated value for the

collection. It should be understood that estimates are just that, and, particularly when dealing

with auctions where lots are often unique unto themselves, there is no science to an estimate.




45002267;2                                       4
             Case 3:16-bk-02230-PMG      Doc 1184-1       Filed 08/29/18     Page 5 of 10




We can look at what other auctions have generated and apply those results, but there are always

differences and variables and so our estimates should be taken only as a prediction, based on our

past experience, and not as a guarantee. We are well aware that some categories of items, such as

paper currency and coins, exist in great quantity. And generally, when there are many items of a

similar nature offered in a single event, the amount each item brings dips. On the other hand, that

is what happens in a typical situation. The Titanic Auction will be anything but typical. Although

there are hundreds of items that are fairly similar to each other, we expect that there will be an

unprecedented audience of people who would treasure anything that was retrieved from the

Titanic. And hence, even the lowest-level items can be expected to bring amounts that fit into our

level A evaluation.

         11.     By transferring the estimated value of each of the artifacts into an auction

offering, the tendency is to put an estimated range next to each auction lot. To be clear, if an item

has an estimated value of $6,000, that might show up in an auction description as having an

estimated worth of $5,000-7,000. As a rule, many auctioneers would opt to underestimate the

worth of an object so as not to discourage bidders. In any case, it would be premature at this

point to concern ourselves with individual auction item estimates. Suffice it to say, an auction

strategy can and will be discussed when the actual auction preparations begin. Theoretically, if

the estimated value of the individual artifacts as we prepared applies, and a low and high auction

estimate is attached to each item, the total of these figures– reflecting the fact that all auction

estimates are listed as a range, from low to high – might well be $50 million to $70 million.

(Our early estimates of course were based on the approximately 2,358 artifacts in the French

Collection. Should fewer items be consigned, this would naturally have bearing on this estimate.)




45002267;2                                       5
             Case 3:16-bk-02230-PMG         Doc 1184-1     Filed 08/29/18      Page 6 of 10




The above amount is of course an estimate only, and as indicated, has been generated using

auction results which we feel would be comparable (as can be seen below in Paragraph 12).

However, many of the Titanic lots are unique and as such, there is no direct comparison

available. For instance, certain marquee items like the Cherub are capable of fetching truly

extraordinary amounts, but as there is no track history, we look to other items, in other auctions,

to reach our estimate. My experience tells me there is no doubt a possibility of a buyer paying an

extraordinary amount for an item as iconic as the Cherub from the Titanic, which is just one of

the many French Artifacts.

           12.     Comparable results achieved at auction (including lots sold by Guernsey’s):

ITEM                                                           PRICE REALIZED AUCTION DATE
Cracker from a lifeboat survival kit                                     $23,000        Oct, 2015
Key on brass fob                                                         $28,000       Sept, 2016
Key to lifejacket locker                                               $119,000         Oct, 2016
Key to binocular cabinet                                               $137,000        April, 2010
½’’ x ¼’’ fragment of wood from a door on the Titanic                    $13,000       April, 2012
Menu                                                                     $88,500      June, 2004
Dinner menu                                                              $64,000       July, 2012
Lunch menu                                                               $88,000       Sept, 2015
Lunch menu                                                             $118,000        Nov, 2015
Lunch menu                                                             $140,000        April, 2018
A letter                                                               $186,000        April, 2012
A violin                                                             $1.7 million       Oct, 2013
A coin                                                                   $21,000       April, 2012
Sextant used on Carpathia to navigate to wreckage of Titanic             $92,000       April, 2016
Fur coat worn by a stewardess who escaped Titanic                      $250,000        April, 2017
Gold collar stud                                                         $15,000       April, 2012
Pocket watch                                                           $181,000        April, 2008




45002267;2                                          6
             Case 3:16-bk-02230-PMG            Doc 1184-1   Filed 08/29/18      Page 7 of 10




A silver dollar certificate (paper currency)                             $44,000         April, 2012
Lifeboat plaque                                                          $44,500        June, 2004
Book of Titanic postcards                                                $16,000         April, 2017
Unique photo of the Titanic                                              $21,000         April, 2017



        12a.      Non-Titanic related items that have achieved significant results at auction, due to

their connection to a significant person, place, or event (the majority of these items sold by

Guernsey’s):

ITEM                                                          PRICE REALIZED AUCTION DATE

Rock-era guitar                                                       $3.5 million        May, 2017

Battered wooden Chelsea Hotel door                                      $125,000         April, 2018

A baseball                                                             $3 million         Dec, 2003

Dilapidated Kennedy family boat                                        $6 million       March, 1998

Jacqueline Kennedy's costume jewelry necklace                           $211,000         April, 1996

Paul Newman wristwatch                                              $17.8 million         Oct, 2017

Leonardo da Vinci 25’’ x 18'' painting                               $450 million         Nov, 2017



         13.      As indicated, based upon these estimates, the collection could in theory fetch as

much as $50 million to $70 million, or more. However, when comparing the results of other

auctions (as cited in the examples provided in Paragraph 12), there are clearly a great many

variables which would make it impossible to predict with any certainty that similar items would

perform in the same fashion. But based upon my years of experience in the sale by auction of

rare and historic items in general, I believe these artifacts are certainly capable of this range.

         14.      In that timing is always a factor to be considered, it is my recommendation that

were there to be a Titanic Auction, it should be conducted in the near future. Today, virtually

every adult around the world is well-aware of the compelling Titanic saga. In the years ahead,



45002267;2                                          7
             Case 3:16-bk-02230-PMG       Doc 1184-1     Filed 08/29/18    Page 8 of 10




this may not be the case. Accordingly, the time to maximize the financial potential of this

absolutely extraordinary body of material is now. Guernsey’s is ready, willing, and able to

produce this event and would be honored to do so.

         15.     Neither Guernsey’s nor I represent any interest adverse to the Debtors, their

creditors, the known equity security holders, the known parties in interest, or the Estate more

generally, and we are "disinterested persons" as required by 11 U.S.C. § 327(a) and as defined by

11 U.S.C. § 101(14).

         16.     Guernsey's has no doubt worked with other professionals and persons involved in

these cases in other unrelated matters.

         17.     To the best of my knowledge, except as set forth herein, (a) Guernsey’s has no

connections with the Debtors, creditors, any other party in interest, or their respective attorneys

and financial advisors, and (b) Guernsey’s professionals working on this matter are not relatives

of the United States Trustee of the Middle District of Florida or of any known employee in the

office thereof, or any United States Bankruptcy Judge for the Middle District of Florida as

required by Fed. R. Bank. P. 2014.

         18.     Based on the foregoing, Guernsey’s does not represent any entity having an

adverse interest in connection with these cases, and does not hold or represent an interest adverse

to the estate with respect to the matters on which Guernsey’s will be employed in accordance

with Section 327(a) of the Bankruptcy Code.

         19.     Guernsey’s has agreed to be compensated and reimbursed as fully set forth in the

Engagement Letter attached hereto as Exhibit A.




45002267;2                                       8
             Case 3:16-bk-02230-PMG       Doc 1184-1      Filed 08/29/18     Page 9 of 10




         20.     No promises have been received by Guernsey’s, nor any member, or associate

thereof, as to the compensation in connection with this case other than in accordance with the

provisions of the Bankruptcy Code and the attached Engagement Agreement.

         I declare under penalty of perjury that the foregoing is true and that I have executed this

declaration on May ___,
                    31 2018, in New York City, New York



                                                                         Arlan Ettinger




45002267;2                                        9
                 Case 3:16-bk-02230-PMG             Doc 1184-1         Filed 08/29/18       Page 10 of 10




May 31, 2018

Mr. Peter Gurfein
Landau Gottfried & Berger LLP
1801 Century Park East
Suite 700
Los Angeles, California 90067

                       RE: The 1987 French Expedition Artifacts Recovered from the RMS Titanic

Dear Mr. Gurfein:

Thank you for the considering Guernsey’s to be the firm to conduct the auction of artifacts recovered from the RMS
Titanic by the 1987 French Expedition.

This letter is to confirm that Guernsey’s is committed to devoting its full energy and complete attention to producing an
auction that will honor the memory of the fabled Titanic while maximizing the financial potential of these historic artifacts.
We are prepared to work for a reduced seller’s commission of 9% (nine percent) which Guernsey’s would retain from the
proceeds of the sale of the artifacts.

Specific details regarding timing, location, manner in which the auction would be conducted, and other aspects of the
event, will be mutually agreed upon and subject to the approval of the Bankruptcy Court.

Please know that we are truly honored to be considered for this most important assignment and thank you for this
opportunity.

Sincerely,



Arlan Ettinger
President




                                                        Exhibit A
